Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 1 of 16 PAGEID #: 3379



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

JOHN DOE,                               :
                                        :
             Plaintiff,                 :      CASE NO. 2:16-CV-171
                                        :
       v.                               :
                                        :
THE OHIO STATE                          :      JUDGE SMITH
UNIVERSITY, et. al.,                    :      MAGISTRATE JUDGE VASCURA
                                        :
             Defendants.                :

                UNITED STATES DEPARTMENT OF EDUCATION’S
                       MOTION TO QUASH SUBPOENA

    Nonparty the United States Department of Education hereby moves the Court to

quash the subpoena issued from this Court by attorney Eric Rosenberg on behalf of

Plaintiff John Doe on December 27, 2017, purporting to subpoena documents from the

United States Department of Education, Office for Civil Rights. Federal regulations and

Supreme Court precedent govern the disclosure of any information acquired by an

employee of the agency; because the Department of Education’s Acting Assistant

Secretary for Civil Rights has determined that compliance with this subpoena is not

appropriate under the Federal Rules of Civil Procedure and those regulations, the

subpoena must be quashed.

    The reasons for this motion are more fully set forth in the attached Memorandum in

Support.


                                               (signature on following page)
Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 2 of 16 PAGEID #: 3380



                                            Respectfully submitted,

                                            BENJAMIN C. GLASSMAN
                                            United States Attorney

                                            s/Leah M. Wolfe
                                            LEAH M. WOLFE (0093299)
                                            Assistant United States Attorney
                                            303 Marconi Boulevard, Suite 200
                                            Columbus, OH 43215
                                            Office: (614) 469-5715
                                            Fax: (614) 469-5240
                                            E-mail: leah.wolfe@usdoj.gov



OF COUNSEL:

Vanessa Santos
Michelle Tucker
Deborah Friendly
U.S. Department of Education
Office of the General Counsel
Division of Educational Equity
400 Maryland Ave. SW, Rm. 6E236
Washington, DC 20202




                                        2
Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 3 of 16 PAGEID #: 3381



                            MEMORANDUM IN SUPPORT

I.      BACKGROUND

     Plaintiff John Doe, a former student and employee of The Ohio State University

(“OSU”), commenced this lawsuit on February 24, 2016, against Defendants OSU,

various OSU officials, and former OSU student Jane Doe. Compl., ECF No. 1. His claims

stem from OSU’s investigation of a sexual misconduct claim Jane Doe made against him

in 2015; in short, Plaintiff claims that OSU’s investigation was inaccurate, biased, and

procedurally deficient. See generally Second Amnd. Compl., ECF No. 20.

     Plaintiff amended his complaint twice, ECF Nos. 3 & 20, and, following motions to

dismiss by all defendants and the stipulated dismissal of Jane Doe, see ECF Nos. 23 &

25; 28, the Court dismissed all but Count III—a claim for erroneous outcome—of

Plaintiff’s Second Amended Complaint. See Opinion & Order, ECF No. 50, at p. 49.

     Non-party the United States Department of Education (“ED”) oversees the

implementation of Title IX of the Educational Amendments of 1972 (“Title IX”), 20

U.S.C. § 1681 et seq., in educational programs or activities that receive Federal funds.

Title IX prohibits sex discrimination—including sexual misconduct—in all such

programs and activities. Plaintiff theorizes that OSU’s investigation of the accusation of

sexual assault against him was motivated by ED’s policies, guidance, and concomitant

investigations of OSU’s implementation of Title IX in sexual misconduct investigations.

See generally Third Amnd. Compl., ECF No. 36; see also January Email, attached hereto as

Exhibit A, at p. 1. Plaintiff further theorizes that such policies, guidance, and

investigations resulted in an “erroneous outcome” because they motivated OSU to


                                              1
Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 4 of 16 PAGEID #: 3382



conduct its investigation in a biased manner that was itself a violation of Title IX. Third

Amnd. Compl., ECF No. 36, at, e.g., ¶¶ 11-20, 22-29, 162; see also Exhibit A at p. 1.

      In an attempt to support this theory, Plaintiff previously issued third-party

subpoenas to ED’s Office for Civil Rights (“OCR”) on September 22, 2017, and October

23, 2017. See generally Motion to Quash, ECF No. 61. In accordance with the Federal

Rules of Civil Procedure (“FRCP”), ED objected to those subpoenas on the grounds that

the subpoenas violated FRCP Rule 45 and failed to comply with the agency’s Touhy

regulations. Id. When Plaintiff did not withdraw the subpoenas, ED moved to quash

those subpoenas on November 14, 2017. Id. Plaintiff subsequently withdrew the

subpoenas, ED withdrew its Motion to Quash, and the Motion was denied as moot. See

ECF Nos. 62 & 63. Plaintiff then issued the subpoena at issue here on December 27, 2017

(“the Third Subpoena”), a copy of which is attached as Exhibit B.1

II.      FACTS

         A.     The Department of Education’s Touhy Regulations

      Requests for documents or testimony from a federal agency are commonly referred

to as Touhy requests following the Supreme Court’s decision in United States ex rel.

Touhy v. Ragen, 340 U.S. 462 (1951). In accordance with that decision, ED promulgated

Touhy regulations to “establish[] the procedures to be followed when the Department or


1In the interim, Plaintiff submitted a Freedom of Information Act (“FOIA”) request to ED, dated
November 17, 2017, seeking similar categories of documents as those requested in the First and Second
Subpoenas. Plaintiff neither acknowledged ED’s November 28, 2017, initial cost estimate for responding
to the FOIA request—which was $20,097.00 for the 377.5 hours needed to conduct an initial search for the
records responsive to the request, as well as $30.00 of direct costs to retrieve files from archives—nor
responded to ED’s invitation to narrow the FOIA request. Accordingly, ED administratively closed the
FOIA request on January 3, 2018. See Exhibit D, Third Response, at pp. 1-2, 8; see also generally FOIA letter,
attached as Exhibit C.


                                                      2
Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 5 of 16 PAGEID #: 3383



any employee of the Department receives a demand” for testimony or production of

documents in a case where the United States is not a party. 34 C.F.R. § 8.1. The

“requirements for submitting a demand for testimony or records” to ED are set forth in

34 C.F.R. § 8.3; any demand for testimony or documents in a legal proceeding “[m]ust

be in writing” and “[m]ust state the nature of the requested testimony or records, why

the information sought is unavailable by any other means, and the reason why the

release of the information would not be contrary to an interest of [ED] or the United

States.” 34 C.F.R. § 8.3(a)(1) and (2). Any such request for documents “must be made on

an employee who has custody of the records” and copied to ED’s General Counsel. 34

C.F.R. § 8.3(c).

    ED’s Touhy regulations were promulgated in accordance with the “federal

housekeeping statute,” which provides that the head of an Executive department “may

prescribe regulations for the government of his department, the conduct of its

employees, the distribution and performance of its business and the custody, use, and

preservation of its records, papers and property.” 5 U.S.C. § 301. These regulations are

mandatory and cannot be dispensed with as a mere formality. See generally Touhy, 340

U.S. 462. Thus, while Touhy regulations do “not authorize withholding information

from the public or limiting the availability of records to the public,” 5 U.S.C. § 301, the

regulations must be followed to seek and obtain approval before the information

Plaintiff requests here can be released. See generally Touhy, 340 U.S. 462.

    Upon receipt of a request for documents or testimony, 34 C.F.R. § 8.5 sets forth the

procedures the agency must follow before releasing the information. ED’s regulations


                                              3
Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 6 of 16 PAGEID #: 3384



specifically require “the prior written authorization of the Secretary” before any

requested documents may be released. 34 C.F.R. § 8.5(b). The regulations permit

disclosure of documents only after the Secretary determines that the demand satisfies

the requirements of 34 C.F.R. § 8.3 and that the disclosure (1) would be appropriate

under the rules of procedure governing the matter in which the demand arises and

other applicable laws, rules, and regulations; and (2) would not be contrary to an

interest of the United States, which includes furthering a public interest of the

Department and protecting the human and financial resources of the United States. 34

C.F.R. § 8.5(c).

        B.      The Third Subpoena to the Department of Education

    The Third Subpoena—issued on December 27, 20172—requested production of five

broad categories of documents on January 19, 2018, at 1:34 PM:

             All document(s) and communication(s) created between April 4, 2011
             and August 7, 2015 – which [ED] has not provided to OSU – that relate
             to any investigation(s) [ED] conducted regarding OSU’s
             implementation of Title IX.
             All document(s) and communication(s) created between April 4, 2011
             and August 7, 2015 – which [ED] has not provided to OSU – that relate
             to any complaint [ED] received regarding OSU’s implementation of
             Title IX.
             All document(s) and communication(s) created between April 4, 2011
             and August 7, 2015 – which [ED] has not provided to OSU – that relate
             to OSU’s implementation of Title IX.
             All document(s) and communication(s) created between April 4, 2011
             and August 7, 2015 – which [ED] has not provided to OSU – that relate
             to OSU’s Title IX policies.



2ED’s Office of the General Counsel did not receive a copy of the Third Subpoena until January 2, 2018,
and OCR’s Cleveland Office was not served until January 8, 2018. See Third Response, Exhibit C, at p. 2;
Third Subpoena, Exhibit B, at p. 2.


                                                    4
Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 7 of 16 PAGEID #: 3385



             All document(s) and communication(s) created between April 4, 2011
             and August 7, 2015 – which [ED] has not provided to OSU – that relate
             to OSU’s sexual misconduct policies.

See Exhibit B at p. 6.

    The Third Subpoena also contained “Additional Information Related to Subpoena,”

consisting of six bulleted paragraphs which purport to explain how the Third Subpoena

complies with ED’s Touhy regulations in an attempt to avoid the deficiencies of the first

two subpoenas and Plaintiff’s separate FOIA request. Id. at pp. 6– 7.

        C.      The Department of Education’s Third Response and Determination by
                the Acting Assistant Secretary for Civil Rights

    On January 10, 2018, the Regional Director of OCR’s Cleveland, Ohio, office sent a

letter (“the Third Response”) to Plaintiff’s counsel in response to the Third Subpoena.

See Exhibit D, attached. Noting that this was Plaintiff’s third subpoena, the Third

Response explained that ED’s regulations authorize the release of the agency’s

information only after specific written authorization from the Secretary of Education;

such authorization has been delegated to the Acting Assistant Secretary for Civil Rights,

Candice Jackson.3 Id. at p. 3. The Third Response went on to state that, under ED’s

regulations, Acting Assistant Secretary Jackson had determined that ED would not

comply with the Third Subpoena for two main reasons: first, because “compliance with

the [T]hird [S]ubpoena is not appropriate under the rules of procedure governing the

matter in which the demand arises as well as other applicable laws, rules, and


3The Secretary, pursuant to her authority in 20 U.S.C. § 3472, delegated the authority in 34 C.F.R. Part 8
to the heads of each of ED’s Principal Offices pursuant to Delegation EA/GEN/varied2, certified on
September 4, 1992. See Memorandum re: Delegation of Authority dated Sept. 4, 1992,
https://www2.ed.gov/about/offices/list/om/docs/delegations/fs_general_ea_varied2.pdf.


                                                     5
Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 8 of 16 PAGEID #: 3386



regulations,” and second, because “production of the requested documents . . . would

be contrary to interests of the Department and the United States.” Id. at pp. 4, 7.

    In brief, Acting Assistant Secretary Jackson concluded that compliance with the

Third Subpoena violated not only ED’s Touhy regulations, but also the FRCP and

various federal statutes, such that no response was appropriate under the agency’s

Touhy regulations. She determined, for example, that the Third Subpoena violated FRCP

Rules 26 and 45 because it was not proportionate to Plaintiff’s needs, it sought

privileged materials, and responding to it would impose an undue burden and expense

on the agency. Id. at p. 4. Acting Assistant Secretary Jackson also determined that

release of materials responsive to the Third Subpoena would violate the Privacy Act of

1974, as amended (“Privacy Act”), 5 U.S.C. § 552a, and the Family Educational Rights

and Privacy Act (“FERPA”), 20 U.S.C. § 1232g and 34 C.F.R. Part 99. Id. at p. 5.

    Acting Assistant Secretary Jackson further decided that “[d]isclosure of the

requested documents would not further a public interest of the Department” for several

reasons, including not only the overbreadth of the requests and the corresponding

burden in responding, but also because of the “chilling effect on current and future

OCR enforcement activities” caused by production of “highly sensitive information

gathered with the expectation that it [would] only be used for enforcement purpose.” Id.

at p. 7. As Acting Assistant Secretary Jackson summed up her decision,

              in order for OCR to ensure recipients’ compliance with the
              Federal antidiscrimination statutes it enforces, OCR must be
              able to ensure not only that the information it collects during
              its enforcement activities is not used for unintended
              purposes, but that the information is not used for a purpose


                                             6
Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 9 of 16 PAGEID #: 3387



                that would undermine or be incompatible with OCR’s
                enforcement efforts . . . . Production of the requested
                documents for your client’s lawsuit, and similar documents
                in other matters, would therefore weaken the effectiveness of
                OCR’s enforcement actions, and such impact is
                disproportionate to the need for the documents in your
                client’s private action against OSU. It is not only in the best
                interest of the Department, but also essential for OCR to
                maintain the public’s trust, and it is vital that participants in
                OCR’s enforcement actions understand the care,
                conscientiousness, and respect OCR has for their privacy.

Id. at p. 8.

    Based on Acting Assistant Secretary Jackson’s determination not to release

documents responsive to the Third Subpoena, the Third Response requested that

Plaintiff withdraw the Third Subpoena by the close of business on January 19, 2018. Id.

at p. 9. It also invited Plaintiff’s counsel to direct questions about Acting Assistant

Secretary Jackson’s determination to the Chief Attorney in OCR’s Cleveland, Ohio,

office and to contact the Chief Attorney regarding the opportunity to submit a second,

narrowed FOIA request to the agency in order to “significantly reduce the search,

review, and duplication fees.” Id.

        D.      Plaintiff’s January 19, 2018, correspondence

    Rather than reach out to the Chief Attorney or withdraw the subpoena, Plaintiff’s

counsel instead emailed correspondence (“January Email”) to OCR’s Regional Director

in Cleveland, Ohio,4 on the afternoon of January 19, 2018. See Exhibit A, attached. The




4The January 19, 2018, correspondence copied the OCR Regional Director in Chicago, Illinois, because
Plaintiff’s counsel issued essentially identical subpoenas in unrelated litigation pending in the Southern
District of Indiana to which OCR had likewise replied under separate cover.



                                                     7
Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 10 of 16 PAGEID #: 3388



 January Email “address[es] six issues raised in [the Third Response] in the hopes of

 resolving OCR’s objections,5” id. at p. 2, namely issues regarding the disclosure of

 personally identifiable information, the scope of the requests and definitions, the

 disclosure of privileged documents, the lack of a court order requiring production, and

 the alleged impracticality of a FOIA request. See generally id. The January Email also

 informed OCR that Plaintiff intends to seek the deposition of Acting Assistant Secretary

 Jackson regarding her determination not to release the requested information. Id. at p. 4.

 In closing, the January Email offered to extend the response date for the Third

 Subpoena to January 30, 2018. Id.

        Because ED had already made the decision that disclosing the documents requested

 in the Third Subpoena was not appropriate under the applicable statutes and

 regulations and was not in the interest of the government, ED did not produce any

 records in response to the Third Subpoena and did not respond to the January Email.

 III.      LAW AND ARGUMENT

        It is well established that federal agency heads have discretion to restrict the

 testimony of or production of documents by their subordinates through properly

 promulgated regulations. See, e.g., United States ex rel. Touhy v. Ragen, 340 U.S. 462, 468-

 69 (1951); Boron Oil Co. v. Downie, 873 F.2d 67 (4th Cir. 1989) (“Touhy is part of an

 unbroken line of authority which directly supports [the] contention that a federal

 employee may not be compelled to obey a subpoena contrary to his federal employer’s



 5ED disagrees with both the characterization of the Third Response as an “objection” and that the six
 identified issues are the only issues raised in the Third Response.


                                                     8
Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 11 of 16 PAGEID #: 3389



 instructions under valid agency regulations.”); Swett v. Schenk, 792 F.2d 1447 (9th Cir.

 1986) (a court may not compel a federal employee to testify, regardless of the agency’s

 reasons); State of Louisiana v. Sparks, 978 F.2d 226, 234 (5th Cir. 1992) (“As the Supreme

 Court has long held, such regulations unquestionably give [federal] employees the

 authority, when so ordered by supervisors, to refuse to comply with a subpoena

 ordering disclosure of confidential files when the United States is not a party to a legal

 action.”). Such regulations ensure that federal employees’ official time is spent on

 federal business and that agencies remain impartial in private litigation. See, e.g., United

 States v. Marino, 658 F.2d 1120, 1125 (6th Cir. 1981) (“The Department of Justice has a

 legitimate interest in regulating access to government information contained in files or

 obtained by its employees during the scope of their official duties.”).

     As explained above, ED’s Touhy regulations promulgated under 5 U.S.C. § 301

 prohibit agency employees from producing “records in response to [a subpoena]

 without the prior written authorization of the Secretary.” 34 C.F.R. § 8.5(b). Without

 such written authorization, a party cannot compel compliance with a subpoena absent a

 separate ruling under the Administrative Procedure Act (“APA”), 5 U.S.C. § 701 et seq.,

 that the agency’s decision not to respond was arbitrary and capricious. See, e.g., Rimmer

 v. Holder,6 700 F.3d 246, 262-63 (6th Cir. 2012) (noting that plaintiff in a case seeking



 6 While the Sixth Circuit has not squarely defined the contours of the multitude of potential Touhy
 scenarios, the Rimmer decision implied—though arguably in dicta—that Touhy requests should be treated
 differently based on whether the request for documents or testimony arises in a federal- or state-court
 case, citing with apparent approval the description of Touhy procedures set forth in Houston Business
 Journal, Incorporated v. Office of the Comptroller of the Currency, 86 F.3d 1208, 1211-12 (D.C. Cir. 1996).
 Rimmer, 700 F.3d at 262-63. This stray citation aside, however, the Rimmer decision nonetheless found that



                                                     9
Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 12 of 16 PAGEID #: 3390



 review of FOIA denial “could have obtained review under the APA rather than FOIA if .

 . . he had pursued a Touhy request . . . “) (emphasis added); see also, e.g., United States v.

 Threet, No. 09-20523, 2011 WL 5865076, at *1 (E.D. Mich. Nov. 22, 2011) (noting that “if

 [d]efendant is dissatisfied with the DEA’s response to his Touhy request, his remedy is

 an action against the DEA pursuant to the Administrative Procedures [sic] Act, and not

 pursuant to a motion to compel.”); OhioHealth Corp. v. U.S. Dep’t of Veterans Affairs, No.

 2:14-cv-292, 2014 WL 4660092, at *3 (S.D. Ohio Sept. 17, 2014) (finding that “[i]n

 reviewing a federal agency’s decision pursuant to its promulgated Touhy regulations

 under the Administrative Procedures [sic] Act, the Court’s role is ‘narrow’ . . . “).

     Furthermore, even if ED’s decision not to respond to the subpoena was specifically

 at issue here and was ultimately found to be arbitrary and capricious in a ruling under

 the APA, “the proper remedy is to remand [the] issue back to the [agency] for further

 investigation and explanation,” rather than to compel the agency to respond. OhioHealth

 Corp., 2014 WL 4660092, at *7 (citing Florida Power & Light Co. v. Lorion, 470 U.S. 729, 744

 (1985)); Rimmer, 700 F.3d at 263 (“absent a Touhy request, [plaintiff] cannot point to a

 final agency action that warrants APA review”); see also United States v. Lyimo, 574 F.

 App’x 667, 670 (6th Cir. 2014) (collecting cases and noting that “[t]he law of this circuit

 requires a defendant to follow the appropriate Touhy procedures and have his or her



 APA standards apply to review of an agency’s handling of a Touhy request, especially given that other
 cases cited in the decision arose from subpoenas issued from both federal and state courts. Id. at 263. The
 Rimmer decision relies on, for example, In re Boeh, 25 F.3d 761, 767 (9th Cir. 1994), which held that “an
 APA claim was the proper method for challenging an agency’s refusal to produce information” after
 agency denial of a Touhy request arising from a federal-court issued subpoena. Thus, while ED
 acknowledges that it is—as the recipient of a third-party subpoena issued under the FRCP—subject to the
 FRCP, it disagrees that those rules in any way supersede its Touhy regulations.


                                                     10
Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 13 of 16 PAGEID #: 3391



 demand denied [even] before questions about the constitutionality of the procedures

 may be entertained.”).

    Because ED’s Acting Assistant Secretary for Civil Rights found here that

 “compliance with the [T]hird [S]ubpoena is not appropriate under the rules of

 procedure governing the matter in which the demand arises as well as other applicable

 laws, rules, and regulations,” and that “production of the requested documents . . .

 would be contrary to interests of the Department and the United States,” Third Resp.,

 Exhibit D, at pp. 4; 7, ED employees are prohibited from responding to the Third

 Subpoena. See 34 C.F.R. § 8.5(c). And while the validity of that determination is not

 specifically at issue here, it is significant to note that the Department properly

 determined that complying with the Third Subpoena would contravene the Federal

 Rules of Civil Procedure because it seeks privileged information; it is overly broad and

 creates an undue burden on the agency; and it is not proportional nor relevant to

 Plaintiff’s litigation needs.

    Responding to the Third Subpoena would run afoul of numerous federal statutes

 implicating compelling privacy concerns of third parties who relied on the assurances

 of confidentiality from the agency and their educational institutions in providing

 extremely sensitive personal information. Responding to the Third Subpoena would

 require an extensive outlay of agency resources, not only in searching for the

 necessarily numerous responsive documents given the overbreadth of the requests, but

 also in complying with statutory notification requirements for disclosure of private

 information of third parties and redacting or otherwise de-identifying personal


                                              11
Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 14 of 16 PAGEID #: 3392



 information of those third parties. Responding to the Third Subpoena would

 undermine the public’s trust in the agency by disclosing information third parties

 expected to remain private and confidential, and would create a chilling ripple effect on

 future investigations and enforcement. Responding to the Third Subpoena would also

 necessitate the production of materials that reveal ED’s deliberative processes,

 investigative strategies, methods of analysis, and other work product, which would

 undermine its effectiveness and could certainly be used for improper purposes in the

 future. And responding to the Third Subpoena would in fact do nothing to advance

 Plaintiff’s private litigation because it is difficult to imagine any scenario in which

 documents that OCR “did not provide to OSU” could ever show or even tend to show

 that OSU’s investigation of Plaintiff was biased and a violation of Title IX.

    In sum, then, responding to the Third Subpoena is certainly not in the interests of

 ED or the United States because it would not only be in conflict with the statutes, rules,

 and regulations at issue, but it would also be a burdensome, inefficient diversion of the

 agency’s resources away from its task to fairly and vigorously enforce Title IX.

 Responding to such a subpoena is a needless outlay of federal time and resources that

 would serve only to further the interests of private litigants while exposing ED to a

 potential onslaught of subpoenas issued in private litigation around the country—

 exactly the outcome that Touhy and its progeny seek to avoid.




                                              12
Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 15 of 16 PAGEID #: 3393



 IV.      CONCLUSION

       Absent the written authorization required by ED’s Touhy regulations, Plaintiff

 cannot compel the agency to respond to the Third Subpoena, and therefore, it must be

 quashed.


                                                   Respectfully submitted,

                                                   BENJAMIN C. GLASSMAN
                                                   United States Attorney

                                                   s/Leah M. Wolfe
                                                   LEAH M. WOLFE (0093299)
                                                   Assistant United States Attorney
                                                   303 Marconi Boulevard, Suite 200
                                                   Columbus, OH 43215
                                                   Office: (614) 469-5715
                                                   Fax: (614) 469-5240
                                                   E-mail: leah.wolfe@usdoj.gov

 OF COUNSEL:

 Vanessa Santos
 Michelle Tucker
 Deborah Friendly
 U.S. Department of Education
 Office of the General Counsel
 Division of Educational Equity
 400 Maryland Ave. SW, Rm. 6E236
 Washington, DC 20202




                                              13
Case: 2:16-cv-00171-GCS-CMV Doc #: 66 Filed: 01/31/18 Page: 16 of 16 PAGEID #: 3394



                              CERTIFICATE OF SERVICE

    I certify that on January 31, 2018, I filed the foregoing Motion to Quash using the

 CM/ECF system, which will send notice to all counsel of record.


                                                 s/Leah M. Wolfe
                                                 LEAH M. WOLFE (0093299)
                                                 Assistant United States Attorney




                                            14
